JS 44 (Rev. 10/20)

Case: 1:20-cv-02509-8PyPpcCGOVERSHRRGY20 1 of 2. PagelD #: 17

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

Bryan Anthony Reo

(b) County of Residence of First Listed Plaintiff Lake County. Ohio

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Byran Anthony Reo, P.O. Box 5100, Mentor, Ohio 44060

DEFENDANTS

NOTE:
THE TRACT

Attorneys (If Known)

County of Residence of First Listed Defendant

WinRed Technical Services LLC

Arlinaton, VA

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED.

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

Jason R. Stuckey, Bricker & Eckler, LLP, 201 E. Fifth
Street, Suite 1110, Cincinnati, Ohio 45202

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)
oO 1 U.S. Government []3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State CO 1 CT 1 Incorporated or Principal Place CT 4 CO 4
of Business In This State
[2 US. Government [14 Diversity Citizen of Another State [12 [] 2 Icorporated and Principal Place [[]5 [(]5
Defendant (Indicate Citizenship of Parties in Item I) of Business In Another State
Citizen or Subject of a CO 3 CT 3 Foreign Nation CT 6 CO 6
Foreign Country
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions,
| CONTRACT TORTS FORFEITURE/PENALTY INKS Crea ORT |
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane [_] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability CT 367 Health Care/ 400 State Reapportionment
[_] 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability CT 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product _ New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets [] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud |_| 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders’ Suits 355 Motor Vehicle 37] Truth in Lending Act [x] 485 Telephone Consumer
T | 190 Other Contract Product Liability LJ 380 Other Personal | 720 Labor/M: ent SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations | 861 HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury CO 385 Property Damage 740 Railway Labor Act |_| 862 Black Lung (923) 850 Securities/Commodities/
362 Personal Injury - Product Liability 751 Family and Medical |_| 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act |_| 864 SSID Title XVI |] 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | _|790 Other Labor Litigation [7] 865 RSI(405(g)) | | 891 Agricultural Acts
|_| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: | 791 Employee Retirement | | 893 Environmental Matters
[_}220 Foreclosure 441 Voting |_| 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment | 510 Motions to Vacate . | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations | | 530 General T | 871 IRS—Third Party 899 Administrative Procedure
T | 290 All Other Real Property 445 Amer. w/Disabilities - | 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer. w/Disabilities -[__| 540 Mandamus & Other 465 Other Immigration |] 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place an “X” in One Box Only)

(J! Original
Proceeding

2 Removed from
State Court

3 Remanded from
Appellate Court

ci4 Reinstated or O 5 Transferred from
Another District
(specify)

Reopened

Transfer

6 Multidistrict
Litigation -

8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):
Plaintiff filed under 47 U.S.C. §227 and 47 CFR § 64.1200(d)(3)

Brief description of cause:
Plaintiff alleges violation sof the Telephone Consumer Protection Act

VII. REQUESTED IN

(_] CHECK IF THIS

IS A CLASS ACTION

DEMAND §

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [lyes [No
VIII. RELATED CASE(S)
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE SIGNA F ATTORNEY OF RECORD
W/s/dp ap
FOR OFFICE USE ONLY U —
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

I. Civil Categories: (Please check one category only_).
1. |v General Civil
2. Administrative Review/Social Security
3. Habeas Corpus Death Penalty

*If under Title 28, §2255, name the SENTENCING JUDGE:

CASE NUMBER:

il. RELATED OR REFILED CASES See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

This action: is RELATED to another PENDING civil case [is a REFILED case was PREVIOUSLY REMANDED

If applicable, please indicate on page 1 in section VIll, the name of the Judge and case number.

iil. In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
purpose of determining the proper division, and for statistical reasons, the following information is requested.

ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 INORDER. UPON FINDING WHICH
PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

(1) Resident defendant If the defendant resides in a county within this district, please set forth the name of such

county

county: Lake County

Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in
which it has its principal place of business in that district.

(2) Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
wherein the cause of action arose or the event complained of occurred.
COUNTY:
Lake County
(3) Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle

place of business within the district, and the cause of action arose or the event complained of occurred outside
this district, please set forth the county of the plaintiff's residence.
COUNTY

IV. The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
determined in Section III, please check the appropriate division.

EASTERN DIVISION
AKRON (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
v (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga,
CLEVELAND Lake, Lorain, Medina and Richland)
YOUNGSTOWN (Counties: Columbiana, Mahoning and Trumbull)

WESTERN DIV! N

TOLEDO (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca

VanWert, Williams, Wood and Wyandot)

